Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 1 of 29




                                EXHIBIT 30



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 2 of 29
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 3 of 29
                                                                          30

 1   that they can check now that says "Confidential
 2   Attachment," and then that limits those folks
 3   within Anadarko that can see that AFE.
 4      Q      Okay.    Was it typical in your role in
 5   early 2010 to perform this gatekeeper function
 6   for AFE documents that came in?
 7             MR. NEGER:     Objection to form.
 8             THE WITNESS:     Yes.
 9   BY MS. MARTIN:
10      Q      So you had done so on AFEs for
11   non-Macondo-related. . .
12      A      Correct.
13      Q      Okay.    So when you saw this AFE for the
14   first time, for this gatekeeper purpose, what did
15   you do with it?
16      A      Basically nothing.
17      Q      You didn't have to read it or send it
18   on to anyone or anything like that?         I'm just
19   confused about how -- what you would do to
20   perform a gatekeeper function when you get this
21   document laying on your desk.
22      A      Right.    Basically it was controlled by
23   AFE numbers.    So the AFE number associated with
24   this particular AFE on the Macondo, it was my
25   role to go into our system and identify who in


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 4 of 29
                                                                          40

 1         Q   Okay.   So then I guess my question
 2   is -- and I'm sorry if they seem -- you know, I'm
 3   not an accountant, and I -- I'm not at the time.
 4   So my questions may seem confusing.         But I'm just
 5   trying to understand it --
 6         A   Okay.
 7         Q   -- properly.     So this is an estimate of
 8   cost to be spent.     So how does that, then, relate
 9   to the joint interest billings that are sent by
10   BP?
11         A   This is a reference point for us when
12   we get our joint interest billings from BP
13   that -- if you'll will notice, there's an AFE
14   number on here from BP.       When we get the joint
15   interest billings from BP, it will reference that
16   AFE number, which will again link over to this
17   AFE.
18         Q   Okay.   We can look at one of those to
19   have an example.     Let's look at Tab 5.       And I
20   believe we can mark this as -- Exhibit 4201?            Is
21   that correct?
22             MR. NEGER:     Correct.
23   (EXHIBIT NO. 4201 WAS MARKED FOR THE RECORD.)
24   BY MS. MARTIN:
25         Q   Do you recognize this document?


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 5 of 29
                                                                          67

 1   those again.     But just to make sure, you don't
 2   have any questions about the protocol that she
 3   had?
 4       A     No.
 5       Q     Okay.    If we could turn to Tab 2, which
 6   is the joint operating agreement, Exhibit 1243.
 7   I wanted to spend some time on Exhibit C, the
 8   joint -- the accounting provision.         It's the
 9   Bates ending 000001761.       Mr. Byrd, have you read
10   this provision?
11       A     Yes, I have reviewed Exhibit C.
12       Q     And let's start with the definitional
13   terms.   Do you have an understanding of what the
14   term "joint property" means?
15       A     Yes.
16       Q     What is that understanding?
17       A     The joint property, in my own words, is
18   a well that is shared -- the ownership is shared
19   by various entities.
20       Q     Would that include components that are
21   installed in the well?
22       A     Yes.
23       Q     Is such as a casing, for example?
24       A     Yes.
25       Q     If that property is paid for by the


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 6 of 29
                                                                          68

 1   joint account, would it then be joint property?
 2             MR. NEGER:     Objection to form of the
 3      question.
 4             THE WITNESS:     Clarify your question for
 5      me, please.
 6   BY MS. HARVEY:
 7      Q      Earlier today, we looked at some
 8   invoices which had cost breakdowns for various
 9   equipment.
10      A      Right.
11      Q      So that equipment, if Anadarko paid for
12   that invoice, wouldn't that represent joint
13   property, in your understanding?
14      A      Yes, it would represent our share of
15   that joint property.
16      Q      And your share would be the proportion
17   set forth pursuant to the agreements that you
18   reached with BP; is that correct?
19      A      Yes.
20      Q      And in the case of Macondo, Anadarko's
21   share was 25 percent; is that correct?
22      A      Originally, there was a promote for
23   33 percent up to a certain dollar amount.            After
24   that promote paid out, it was 25 percent, yes,
25   ma'am.


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 7 of 29
                                                                          74

 1              MS. HARVEY:    We'll mark this as the
 2         next exhibit.   Just the --
 3              MS. STEIN:    Is it 4204?
 4              MS. HARVEY:    Yeah.    It's 4204.    And on
 5         the CD, this is Tab 8A.      The first exhibit
 6         -- first document.
 7   (EXHIBIT NO. 4204 WAS MARKED FOR THE RECORD.)
 8   BY MS. HARVEY:
 9         Q    Mr. Byrd, who is this invoice addressed
10   to?
11         A    Anadarko Petroleum Corporation.
12         Q    And for what month of operation does it
13   cover?
14         A    It's for the month of January 2010.
15         Q    Do you know if a copy of this was also
16   sent to Anadarko Exploration & Production?
17         A    Not to my knowledge.
18         Q    And this invoice indicates that
19   Anadarko's share is 33 percent of the well cost;
20   is that correct?
21         A    Yes.
22         Q    And that's pursuant to the agreement
23   with BP that Anadarko would pay 33 percent up to
24   a certain point for a 25 percent share?
25         A    That's correct.


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 8 of 29
                                                                          75

 1      Q       Okay.    And this invoice includes cost
 2   for two different wells; is that correct?
 3      A       Yes.
 4      Q       Including Macondo?
 5      A       Yes.    It has billings for Cortez Bank
 6   and also Macondo.
 7      Q       Okay.    And indicates the total net
 8   payment of $21,084,117.60; is that correct?
 9      A       Yes, ma'am.
10      Q       And this is to cover expenditures and
11   cash call for the month of January 2010?
12      A       Yes.
13      Q       If you turn to the Bates ending
14   2752581.
15      A       Okay.
16      Q       And this lists an AFE number?
17      A       Yes, ma'am.
18      Q       Is that the AFE covering the drilling
19   for Macondo Well?
20      A       That is the AFE from -- BP's AFE number
21   for the Macondo Well, yes, ma'am, that's correct.
22      Q       Okay.    And this includes the cost
23   associated with that AFE; is that correct?            At
24   least for the month of -- for this billing cycle?
25      A       Yes.


                         Worldwide Court Reporters, Inc.
                                (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 9 of 29
                                                                          76

 1      Q      And you will see that it includes a
 2   category of Tangible Controllable Equipment?
 3      A      Yes, ma'am.
 4      Q      And do you have an understanding of
 5   what that term means?
 6      A      Yes, ma'am.
 7      Q      And what is that understanding?
 8      A      Controllable equipment is going to be
 9   any equipment that the operator's billing the
10   non-operators.    And by "controllable," you
11   generally are talking about the higher ticket
12   items.   There's also tangible controllable --
13   tangible equipment that's considered
14   noncontrollable, smaller valves and stuff like
15   that, that are -- the dollars are
16   inconsequential.     So we're talking about the
17   bigger ticket items when you talk about control.
18      Q      And to your knowledge, did Anadarko
19   ever question any of the items listed here and
20   contact BP about them?
21      A      Not to my knowledge, no.
22      Q      And turning back to the first page.           We
23   discussed that the costs for Macondo are
24   33.333 percent for the well cost.         Does that
25   represent both Anadarko Petroleum Corporation and


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 10 of 29
                                                                           79

 1   Anadarko Petroleum Corporation?
 2         A   I'm not aware of any such agreement,
 3   no.
 4         Q   If there was such an agreement, do you
 5   know who in the company would be familiar with
 6   that arrangement?
 7         A   I'm guessing it would probably be
 8   someone in our -- probably our financial
 9   accounting group.
10         Q   Um-hum.     And do you know that person in
11   charge of that group?
12         A   I would hate to speculate.         They've
13   changed -- there's been quite a bit of
14   reorganization going on in the last few months,
15   so I'd had -- I'd hate to specify that.
16         Q   All right.     And for the January
17   operations, do you know if that includes costs
18   that were incurred starting with the initial
19   spudding of the well?
20         A   Let's go back to that.
21         Q   It's Tab 8.
22         A   Tab 8 again.      Yes, if you'll look at
23   the very last line of the bill, you will see it
24   says inception to date cost through 12/31 of '09,
25   and it's represented by the $14 million entry on


                         Worldwide Court Reporters, Inc.
                                (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 11 of 29
                                                                           80

 1   that last line.
 2       Q     Okay.    And the cash call request for
 3   $5.2 million, that's a cash call request for the
 4   month of March, operations occurring during the
 5   month of March?
 6       A     Yes.    Generally they're going to cash
 7   call you for up to 60 days, what their costs are
 8   inspected to incur.
 9       Q     And then if we look to the March
10   invoice, we can see how that was accounted for,
11   the cash call?
12       A     What you will probably see on the March
13   bill is, generally they will reverse -- so you
14   got billed for $5.2 million in January.           And
15   generally what an operator will do is reverse
16   that cash call within 60 days.
17       Q     Okay.    And those funds would -- those
18   are funds that were used by BP for the well, for
19   that particular AFE?
20       A     That's the intent of the cash advance,
21   yes, ma'am.
22       Q     Let's go to the next invoice, which
23   we'll mark 4206.
24   (EXHIBIT NO. 4206 WAS MARKED FOR THE RECORD.)
25   BY MS. HARVEY:


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 12 of 29
                                                                           82

 1   for, no, ma'am.
 2       Q     Okay.    And, again, there's a total net.
 3   Is that what Anadarko is being asked to pay for
 4   costs associated with the Macondo Well and
 5   another well?
 6       A     Yes, ma'am.
 7       Q     And if you'll look at the total net
 8   number, $14,458,349.04.       I want to see if that
 9   was also paid in full.       So can we turn to Tab 10,
10   10B, the next remittance, which we'll mark as
11   4207, Bates ending 230696 to 97.
12   (EXHIBIT NO. 4207 WAS MARKED FOR THE RECORD.)
13   BY MS. HARVEY:
14       Q     Is this a remittance for the February
15   invoice covering operations including costs
16   associated with Macondo Well?
17       A     Yes, based upon the invoice numbers on
18   the remittance advice, they are the same.
19       Q     And does it appear, then, that Anadarko
20   paid this February invoice in full?
21       A     Let me see.     I apologize.      The amounts
22   are very, very small.
23       Q     The amount -- oh, the check is on the
24   other side.
25       A     Yes, ma'am, that is.


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 13 of 29
                                                                           85

 1   or Stuart Strife.
 2       Q      Okay.    Let's go to the next invoice for
 3   March.
 4              MS. HARVEY:    And we'll mark this
 5       Exhibit 4208.
 6   (EXHIBIT NO. 4208 WAS MARKED FOR THE RECORD.).
 7           THE WITNESS:    I'm sorry, same tab.
 8   BY MS. HARVEY:
 9       Q      Are you at March?
10       A      Yes, ma'am, I have it.
11              MR. NEGER:    This is the document
12       beginning with Bates No. -- or ending Bates
13       No. 79484?
14              MS. HARVEY:    Yes.    That is correct.
15   BY MS. HARVEY:
16       Q      And on the Bates ending 9485, is this a
17   summary of the invoice for the -- that was billed
18   by BP to Anadarko?
19       A      Yes, it's for March operations billed
20   to Anadarko Petroleum Corporation.
21       Q      And, again, this includes costs
22   associated with two different wells?
23       A      Yes.    The Cortez Bank and the Macondo
24   Well.
25       Q      Okay.    And here it says that there's a


                         Worldwide Court Reporters, Inc.
                                (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 14 of 29
                                                                           87

 1   March JIB, you'll notice that they're reversing
 2   the $5.2 million.      So they're giving us credit
 3   for paying that.
 4       Q      And the total net that you're being
 5   charged under this invoice is $16,412,508.01; is
 6   that correct?
 7       A      That is the total bill for both wells,
 8   yes.
 9       Q      Okay.   And we can just verify that this
10   payment was made by flipping back to Tab 10.
11   10C.
12              MS. HARVEY:    And we'll mark this as
13       Exhibit 4209.
14   (EXHIBIT NO. 4209 WAS MARKED FOR THE RECORD.)
15              THE WITNESS:     It's the same amount,
16       yes.    The total was paid.
17   BY MS. HARVEY:
18       Q      And just to confirm, this is covering
19   Anadarko Petroleum Corporation and Anadarko
20   Exploration & Production Corporation's share --
21   or company share for expenses associated with the
22   AFE for Macondo Well drilling?
23              MR. NEGER:    Objection to form.
24              THE WITNESS.     No.   It's actually a
25       billing to Anadarko Petroleum Corporation


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 15 of 29
                                                                           88

 1       and not Anadarko E&P.
 2   BY MS. HARVEY:
 3       Q     Right.    But the share that is being
 4   asked for, the proportion of the gross
 5   expenditures -- if you turn to the last page,
 6   ending 9489.    The share is listed at
 7   33.33 percent; is that correct?
 8       A     That's correct.
 9       Q     And that share represents the share of
10   both Anadarko Petroleum Corporation and Anadarko
11   Exploration & Production?
12             MR. NEGER:     Objection to form.
13             THE WITNESS:      To me, it represents
14       Anadarko Petroleum Corporation.          That's the
15       only party that's being billed on this
16       invoice for 33 percent.
17             MS. HARVEY:     Okay.    We'll have to take
18       a break to change the tapes.
19             VIDEO SPECIALIST:       The time now is
20       10:55 a.m.     We're now off the record.         This
21       is the end of Tape 2.
22                     (OFF THE RECORD.)
23             VIDEO SPECIALIST:       The time now is
24       11:04 a.m.     We're now back on the record.
25       This is the beginning of Tape 3.


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 16 of 29
                                                                           89

 1   BY MS. HARVEY:
 2       Q      Okay.    To keep going through the
 3   invoices, let's start with the next one, for
 4   April.
 5       A      Okay.
 6       Q      And this is the invoice that BP sent to
 7   Anadarko Petroleum Corporation for the month of
 8   operation April 2010?
 9       A      Yes, ma'am.
10       Q      And, again --
11              MR. NEGER:    Are you going to mark this
12       one?
13              MS. HARVEY:    Yes.    Thank you.     We will
14       mark this as Exhibit 4210.
15   (EXHIBIT NO. 4210 WAS MARKED FOR THE RECORD.)
16   BY MS. HARVEY:
17       Q      And, again, this invoice appears to
18   cover costs for two different wells; is that
19   correct?
20       A      Yes.    The Cortez Bank and the Macondo
21   Well.
22       Q      And with respect to the expenditures
23   and cash call for Macondo, there is an AFE number
24   that's listed X2-008 -- I'm sorry, X2-000X8.            And
25   that's the AFE for the Macondo -- the drilling of


                         Worldwide Court Reporters, Inc.
                                (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 17 of 29
                                                                           91

 1   amount for $80,000; is that correct?
 2       A      Yes, there's a fourth amount.
 3       Q      And I believe you discussed with
 4   Ms. Martin earlier today costs that were
 5   associated with the Macondo incident.          Is that
 6   correct?
 7       A      Yes.   The Macondo incident is that
 8   $80,000.
 9       Q      And like the earlier invoices -- if you
10   flip to the second-to-last page, ending 9502,
11   there is a page listing items associated with AFE
12   No. X2-000X8.     And that's for the Macondo Well?
13       A      Yes, ma'am.
14       Q      So those were items that BP was billing
15   Anadarko for, for the month of April?
16       A      For the Macondo Well, yes, ma'am.
17       Q      Yes.   And if you look at the total
18   net -- on the first page -- amount.          Just to
19   verify how that relates to a payment that was
20   made.   So go to Tab 10D, last -- ending with
21   Bates 230700.
22              MS. HARVEY:    And we will introduce as
23       Exhibit 4211.
24   (EXHIBIT NO. 4211 WAS MARKED FOR THE RECORD.)
25   BY MS. HARVEY:


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 18 of 29
                                                                           92

 1       Q      And if you look at the amount of the
 2   check -- I'm sorry, this is a -- this is a
 3   payment for the invoice -- the April invoice?
 4       A      It is a payment for the April invoice
 5   less the $80,000 incident cost on the last line
 6   item.
 7       Q      So the difference between the total net
 8   that you were billed and the amount that you paid
 9   was for the response cost?
10       A      Yeah.
11       Q      But you paid, in full, cost associated
12   with the drilling of the Macondo Well?
13       A      Yes, cost for the Macondo Well.
14       Q      Okay.   Let's go to Tab 9.
15              MS. HARVEY:    And we'll introduce this
16       as Exhibit 4212.
17   (EXHIBIT NO. 4212 WAS MARKED FOR THE RECORD.)
18   BY MS. HARVEY:
19       Q      And can you tell me what this is?          9A.
20       A      The first page is a -- it looks like a
21   billing from BP for the operational month of May
22   of 2010.
23       Q      And, again, this is addressed to
24   Anadarko Petroleum Corporation?
25       A      Yes, it is.


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 19 of 29
                                                                           93

 1       Q     And to your knowledge, an invoice was
 2   not sent to anyone at Anadarko Exploration &
 3   Production?
 4       A     I have only seen invoices addressed to
 5   Anadarko Petroleum Corporation.
 6       Q     And this lists a cash call receipt for
 7   $8.7 million; is that correct?
 8       A     Yes, it does.      Credit of $8.7 million.
 9       Q     And you said that this invoice, earlier
10   today, was not paid by Anadarko; is that correct?
11       A     That is correct.
12       Q     And you indicated it was because of an
13   earlier cash call -- scratch that.
14             On this -- on this bill -- on this
15   invoice -- if you'll turn to the last page,
16   ending 73383.     Can you tell me what these costs
17   are?
18       A     Based on the AFE number, these are
19   costs related to the Macondo Well.
20       Q     So these were costs that BP, although
21   -- you said earlier that sometimes you're
22   invoiced later for items that had earlier been
23   purchased by BP; is that correct?
24       A     So this is a billing for May of 2010.
25   It more than likely will represent costs, you


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 20 of 29
                                                                           94

 1   know, several months prior to that.
 2       Q      And so the reason that this portion of
 3   the costs which total 6.7 million is their cost
 4   associated with the Macondo Well that you're
 5   being billed for in the month of April; is that
 6   correct?
 7       A      Yes, it is.
 8       Q      That's your net share of the cost?
 9       A      That's our 25 percent share of those
10   costs, yes.
11       Q      And it's now at 25 percent because the
12   promote is no longer in effect; is that correct?
13       A      Right.    The promote based upon 110
14   percent of the gross well cost.         And the May 2010
15   billing now reflects that 25 percent, which tells
16   me that the promote has passed, and our interest
17   has reverted back to 25 percent.
18       Q      Okay.    And you did not pay this portion
19   of the well cost for Macondo Well.          Is that
20   because you believe they had -- you had already
21   paid BP through a cash call?
22              MR. NEGER:    Objection to form.
23              THE WITNESS:     We did not pay this
24       invoice because we already had an excess
25       that was paid to BP in approximately --            it


                         Worldwide Court Reporters, Inc.
                                (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 21 of 29
                                                                           95

 1       was $6 million and change that we still had
 2       outstanding that BP had not reversed yet.
 3   BY MS. HARVEY:
 4       Q      Okay.   If you go to the page just
 5   preceding that.     It's ending 73382.
 6       A      Okay.
 7       Q      And the first line here says MC252
 8   Incident; is that correct?
 9       A      Yes, it does.
10       Q      And then there are several different
11   categories of costs under that heading; is that
12   correct?
13       A      Yes, that's broken out into several
14   categories.
15       Q      And can you tell me what the very last
16   category is in that list?
17       A      Credit balance for Macondo exploration
18   well.
19       Q      And what is that -- the amount that is
20   being credited?
21       A      I believe that that is the credit
22   issued based upon when the promote paid off.            So
23   in other words, we billed you at 33 percent for X
24   dollars.    That portion paid out, your interest
25   reverted back to 25 percent.        So my


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 22 of 29
                                                                           96

 1   interpretation of that line item is just trying
 2   to shore up those two.
 3       Q     Okay.    So that's not associated with,
 4   like, a cash call that had been issued and. . .
 5       A     Not to my knowledge.       Based on the
 6   description, no, ma'am.
 7       Q     Okay.    How did you arrive at the
 8   understanding that you had an outstanding cash
 9   call that related to the Macondo Well cost?
10             MR. NEGER:     Objection to form.
11             THE WITNESS:      We're constantly
12       reviewing our balances with operators on
13       cash calls that we pay.        And by monitoring
14       the amount of money that we already paid BP,
15       and having paid in excess of $6 million on
16       cash calls, we arrived at the determination
17       that, you know, those have not been reversed
18       yet, and so that's -- the May 2010 bill was
19       not paid because of that.
20   BY MS. HARVEY:
21       Q     But Anadarko had then paid for its
22   share of all of the costs at the Macondo Well
23   related to AFE 000X8?
24       A     We paid for all the costs billed
25   through April.     The April 2010 JIB.       Those are


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 23 of 29
                                                                           97

 1   paid by check to BP.      That's the last payment
 2   that was made to BP on the Macondo Well.
 3       Q     Right.    I'm just trying to determine
 4   whether Anadarko believed it has paid BP for its
 5   entire share of the cost related to the
 6   Macondo -- the drilling of the Macondo Well
 7   pursuant to the AFE.
 8       A     Yes.
 9       Q     So all of the costs listed on the page
10   with the Bates ending 73383, Anadarko's paid
11   through the cash call process, through advance
12   payments?
13       A     Right.    There was not a physical check
14   cut for the May 2010 operations.
15       Q     But it was covered by earlier payments?
16       A     Right.
17             MS. HARVEY:     Can we go off the record
18       for one minute?
19             VIDEO SPECIALIST:       The time now is
20       11:17 a.m.     We're now off the record.
21                    (A BREAK WAS TAKEN.)
22             VIDEO SPECIALIST:       The time now is
23       11:18 a.m.      We are now back on the record.
24             MS. HARVEY:     Mr. Byrd, thank you for
25       your time.     United States has no further


                        Worldwide Court Reporters, Inc.
                               (800) 745-1101
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 24 of 29
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 25 of 29
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 26 of 29
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 27 of 29
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 28 of 29
Case 2:10-md-02179-CJB-DPC Document 4820-38 Filed 12/06/11 Page 29 of 29
